Case 17-11213 Doc 766 Filed 10/02/19 Entered 10/02/19 16:03:43 Main Document Page 1 of 2

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA -

In re: Case No. 17-11213
First NBC Bank Holding Company, Chapter 11
Debtor Judge John W. Kolwe

 

ORDER FROM STATUS CONFERENCE

The Court conducted a telephone status conference in this matter on October
1, 2019. Participating in the Conference were: William Steffes and Barbara Parsons
for First NBC Bank Holding Company, Serajul Ferdows Ali for United States of
America/Treasury, Sam Alberts for FDIC, Katie Lamanna for U.S. Bank National
Assoc., as Indenture Trustee, Christopher Caplinger for Lead Plaintiffs in Securities
Class Action, Ward Benson for the USA/IRS, Brian Ballay for Directors of Former
Directors Group, Amanda George for the U.S. Trustee, J. Dalton Courson for Gregory
St. Angelo and Brandon Brown for the Official Unsecured Creditors’ Committee. The
parties agreed on a date for the hearing on confirmation and a related briefing
schedule. Accordingly,

IT IS ORDERED that the hearing on Confirmation of the Second Amended
Chapter 11 Plan of Reorganization shall be on November 13, 2019 at 1:30 p.m. at 800
Lafayette Street, Courtroom 5, Lafayette, Louisiana.

IT IS FURTHER ORDERED that the United States of America/Treasury shall
file a supplemental brief in support of its Objection to Confirmation on or before
October 23, 2019;

IT IS FURTHER ORDERED that the debtor-in-possession, First NBC Bank
Holding Company, shall file its response to the United States of America/Treasury’s

supplemental brief on or before November 5, 2019;
Case 17-11213 Doc 766 Filed 10/02/19 Entered 10/02/19 16:03:43 Main Document Page 2 of 2

IT IS FURTHER ORDERED that the United States of America/Treasury shall
file any reply brief on or before November 8, 2019.
Thus, done and signed this 2nd day of October, 2019.

TR WXbbar—

Chi dge John W. Kolwe
United States Bankruptcy Judge
